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 Mark A. Aronchick
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                                           March 12, 2020



VIA ECF

 The Honorable Paul S. Diamond
 United States District Court for the
   Eastern District of Pennsylvania
 6613 U.S. Courthouse
 601 Market Street
 Philadelphia, PA 19106

          Re:     Stein v. Boockvar, Civil Action No. 16-6287(PD)

Dear Judge Diamond:

       I write on behalf of Defendants to request a short extension of the deadline for the
parties to file their proposed findings of fact and post-hearing briefs. Specifically, due to
the recent illness of one of Defendants’ outside counsel and an emergent matter that has
unexpectedly arisen in our client’s office, we respectfully request that the deadline be
extended from Friday, March 13, 2020, at 5:00 p.m., to Monday, March 16, 2020, at 5:00
p.m. Counsel for Plaintiffs and Intervenors have advised that they consent to the requested
extension.

        I thank the Court for its consideration of this request.

                                           Respectfully,




                                           Mark A. Aronchick
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The Honorable Paul S. Diamond
March 12, 2020
Page 2


cc:   (via ECF)
      Ilann M. Maazel, Esquire
      Douglas E. Lieb, Esquire
      Benjamin Field, Esquire
      Robert A. Wiygul, Esquire
      Christina C. Matthias, Esquire
      Joe H. Tucker, Esquire
      Dimitrios Mavroudis, Esquire
